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                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION

 JAVIER MURILLO SOLIS                          )
                                               )



          V.                                   )       CV 415-314
                                               )



  UNITED STATES OF AMERICA                     )


                                           ORDER

          After an independent review of the record, the Court concurs with the Magistrate

  Judge's Report and Recommendation, to which objections have been filed.

  Accordingly, the Report and Recommendation of the Magistrate Judge is adopted as the

  opinion of the Court. The Clerk is ordered to enter appropriate judgment and close this

  case.



                         So ORDERED, this Lh day of January




                                               L$A GODBEY WOOD, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF GEORGIA
